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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
   MKM/NS:TH                                        271 Cadman Plaza East
   F. #2017R01840                                   Brooklyn, New York 11201



                                                    September 26, 2020

   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere, et al.
                          Criminal Docket No. 18-204 (S-2) (NGG) (VMS)

   Dear Judge Garaufis:

                 The government respectfully submits this letter to advise the Court that the
   undersigned prosecutors received the enclosed email and attachment on September 25, 2020.
   The government is also informed that on the same date, approximately ten individuals, one
   with a video camera, arrived at the United States Attorney’s Office and left a paper copy of
   the attachment for the undersigned. At approximately the same time, another individual
   unsuccessfully attempted to leave a package for former Assistant United States Attorney
   Moira Penza at her law firm address.
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   These efforts appear to be directed by the defendant Keith Raniere, as reflected in the
   enclosed correspondence from defendant Keith Raniere through his prison email account.


                                                   Respectfully submitted,

                                                   SETH D. DUCHARME
                                                   Acting United States Attorney

                                             By:    /s/ Tanya Hajjar
                                                   Tanya Hajjar
                                                   Mark Lesko
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

   cc:          Counsel of Record (by ECF)




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